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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

   United States of America,                   No. 19-20026

                Plaintiff,                     Hon. Gershwin A. Drain
   v.
                                               Offense:
   D-5    Santosh Reddy Sama,                  18 U.S.C. § 371
                                               Conspiracy to commit visa fraud and
                Defendant.                     harbor aliens for profit

                                               Maximum Penalty: Up to 5 years

                                               Maximum Fine: $250,000

                                               Supervised Release:
                                               Up to 3 years


              GOVERNMENT’S SENTENCING MEMORANDUM

         Defendant Santosh Sama is a foreign citizen who abused the student visa

 program so that he could remain and work in the United States illegally. Moreover,

 he and his co-conspirators recruited other foreign students to do the same. Sama, by

 far the most prolific, industrious, and involved recruiter, received in excess of

 $160,000 in profits for his and his associates’ efforts. Accordingly, the United States

 of America respectfully recommends that the Court impose a sentence within

 Sama’s properly calculated guideline range of 41 -51 months. Such a sentence is

 necessary in light of the seriousness of the offense, the need to punish Sama, deter
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 Sama and others from committing the same misconduct, Sama’s personal

 characteristics and to avoid unwarranted sentencing disparities.

  I.   BACKGROUND

       Defendant Santosh Sama is a citizen of India who first traveled to the United

 States in 2014 on a temporary student visa known as an F-1 visa. (PSR ¶ 9). Before

 he could obtain his F-1 visa, Sama applied to study in the United States at a

 university through the Student and Exchange Visitor Program (“SEVP”), which is

 overseen by the Department of Homeland Security. (Id. at ¶ 10–11) (see also Dkt. #

 80, Plea Hrg. Tr., PgID 256-257). Once accepted by a university—in this case

 Atlantis University in Miami, Florida — the school issued a “Certificate of

 Eligibility for Nonimmigrant Student Status,” better known as a Form I-20. (Id. at

 ¶¶ 10–11)(Id. Dkt. # 80 PgID 256).

       Sama’s Form I-20 permitted him to enter the United States, (Id. at ¶ 12) (Id.

 Dkt. # 80 PgID 256) which he first did in December 2014. While in the United States,

 he used his Form I-20 for identification and proof of legal and academic status in the

 United States, and it also allowed for him to travel abroad and return to the United

 States. (Id. at ¶ 12) (Id. Dkt. # 80 PgID 257). For his Form I-20 to remain valid,

 Sama knew that he needed to maintain his status as a full-time student “making

 progress toward completion of [his] field of study,” whether at his original school or

 any school to which he later transferred. (Id. at ¶ 13)(see also Dkt. # 80, Plea Hrg.

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 Tr., PgID 256-257). After spending about a week at Atlantis University in Miami,

 Florida, Sama transferred to Silicon Valley University in San Jose, California.

          Sama’s visa and Form I-20 also permitted him to participate in curricular

 practical training (“CPT”), which in essence permitted him to find gainful

 employment as long as he continued to attend classes and make academic progress

 toward his degree. (PSR, ¶¶ 14-15) (Id. Dkt. # 80 PgID 258).

          From May 2017 through January 2019, undercover agents from Homeland

 Security Investigations (“HSI”) posed as employees of the University of Farmington

 (“the University”), located in Farmington Hills, Michigan. (Id. at ¶ 16). The

 University had no instructors, no classes, and no educational activities. Rather, it

 was a fictitious university used by foreign citizens as a “pay to stay” scheme. (Id.

 at ¶17). Under the “pay to stay” scheme, foreign citizens would enroll with the

 University as “students,” but they would take no classes nor attend any educational

 programs; instead, they would pay tuition so that the University would issue them

 Form I-20’s that identified them as students making progress toward a degree, and

 if they desired, they could also seek gainful employment through the CPT program.

 (Id.).

           SAMA BEGINS HIS RECRUITING RELATIONSHIP WITH THE UNIVERSITY

          On February 13, 2017, Sama contacted the University to discuss enrolling in

 the University without attending classes in order to illegally work in the United

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 States and fraudulently maintain his immigration status. He told the HSI Agent that

 he and his friends were just looking for a way to maintain status and were not

 interested in attending classes. (Id. at ¶ 19) (Id. Dkt. # 80 PgID 258-59). Below are

 excerpts of the several conversations Sama had with the undercover agents that day:

       U/C Agent: Okay, so we do have a non-traditional program. So, what our
                  non-traditional program involves... It basically involves… It
                  doesn’t really involve online, and it doesn’t involve classes
                  either. Basically, your work provides you credits towards your
                  degree.
                  *                   *                 *

       SAMA:        Is it, uh, is it mandatory to attend the classes?

       U/C Agent: Not on your… If you want… If you’re going the traditional route,
                  yes, it is. But if you’re doing a non-traditional, there is no classes.

       SAMA:        I'm looking for non-traditional.
                    *                  *                      *

       SAMA:        Yeah, is there any referral, uh, amount?

       U/C Agent: I'm sorry?

       SAMA:        Is there any referral [U/I] if I [U/I] any of my friend directed [U/I]

                           [VOICES OVERLAP]

       U/C Agent: [STAMMERS] I'm sorry, say that again.

       SAMA:        Is there any referral amount do you have, if I refer any of my
                    friends?

       U/C Agent: Oh, you know what? If you… Yeah, if you want, uh, if you have
                  any friends or anything to sign up, we can always discuss that.
                  Absolutely.

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 Sama promised to call the U/C back in a half an hour. Sama quickly called back

 along with his first recruited “student” who was waiting to talk to the U/C Agent.


       SAMA:        …. Yeah, Ali, uh… My… one of my friends want to… wants to
                    join, but he has… when he’s going … he wants…he’s last day of
                    tomorrow is the last day he has to change the college.

       U/C Agent: Okay.

       SAMA:        Is it possible… Is it possible to change to your university?

       U/C Agent: He wants to… he wants to come in? Is that what it is? He wants
                  to enroll?

       SAMA:        Yeah, he wants to [STAMMERS] enroll.

       U/C Agent: Okay…
            *                    *                   *

       U/C Agent: So, is he okay with… Now, is he okay with the fact that we don’t
                  have an… it’s not going to be any classes? Or…

       SAMA:        Yeah, he’s very comfortable with the classes, also.

       U/C Agent: Huh?

       SAMA:        Yeah, one minute, Ali.

       U/C Agent: I'm sorry?

         [Background conversation takes place between Sama and his “Student”]

       SAMA:        Yeah, Ali.

       U/C Agent: Yes.


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       SAMA:       Yeah, Ali, he’s comfortable with the no classes.

                  *                 *                   *
       U/C Agent: …the non-traditional is not really approved by the Department
                  of Homeland Security. So, yeah, because of that, and we… we
                  want to protect ourselves, you understand? Discretion is very
                  important to us.

       SAMA:       Yeah, the thing is he don’t want to attend any classes, he wants
                   to be in California.

                  *                  *                  *
       U/C Agent: Yeah, that’s fine, we can do that for him. But as long as he
                  understands that, like, if he’s ever questioned by anybody,
                  anything, he …he’s got to, you know… you know, I .. ah … we
                  ask you to say, “hey yeah, I attend classes once a month and I
                  have this… uh, you know, I have a curriculum.” We ..we can
                  always make that curriculum up for…for them. You understand?

       SAMA:       Okay … okay, I got… I got your point.

       U/C Agent: I mean... And…and if you’re… if he’s comfortable with that.

       SAMA:       Yeah, yeah. [STAMMERS] One more minute, Ali.

       U/C Agent: Yes, yes…

        [Background conversation takes place between Sama and his “Student”]

                                 [VOICES OVERLAP]

       SAMA:       Uh, [STAMMERS] if anybody asks, we are to say that, uh,
                   “yeah, I'm the, uh, full time student,” right?

       U/C Agent: [STAMMERS] I… a traditional student, yes. [STAMMERS] I…
                  Yes. In… you know, honestly… Because [STAMMERS] we
                  don’t want our…

                                 [VOICES OVERLAP]

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       SAMA:        Yeah.

       U/C Agent: …we don’t… we don’t want, obviously… you know, we don’t
                  want the law to basically come after us, you know? The legality
                  …

                                   [VOICES OVERLAP]

       SAMA:        But the thing is that if anybody asks, we should tell that we are
                    traditional students. We are not non-traditional [U/I] …

       U/C Agent: Yeah. So, what we do is we end up keeping… We do, even
                  though you might… you’re non-traditional, we do keep records
                  on our end…

       During his various phone calls and face to face meetings with the HSI Agent

 at the University, Sama continued his conversations regarding his enrollment in the

 school and to see if he could receive concessions for recruiting other students to the

 school. (Dkt. # 80, Plea Hrg. Tr., PgID 259-260; 275). Sama reached an agreement

 that he would receive a referral fee of $500 per student. (Dkt. # 80 PgID 263-264).

 During his discussions with the HSI Agent, Sama plainly stated that the only reason

 he wanted to attend the University was to maintain his status, and he knew that he

 and others were not going to be attending any classes and that such an arrangement

 was illegal. (Dkt. # 80 PgID 259; 275).

                                   SAMA’S FIRST PAYMENT

       On January 19, 2018, the undercover agent (“UCA”) and Sama had a

 telephone conversation regarding Sama’s planned trip to the University (January 22

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 and 23, 2018). In preparation for the meeting, the UCA and Sama discussed how

 much money the University still had to pay Sama for the enrolled students that were

 recruited by Sama. Sama acknowledged that he had already received approximately

 sixty two thousand dollars in cash from the students (in the form of tuition

 payments). Sama had not sent this money to the University. Rather, Sama kept the

 sixty two thousand dollars in lieu of payment from the University for the recruitment

 of the enrolled students. This would account for one hundred twenty four enrolled

 students ($62,000 ÷ $500 = 124 students).

       Sama also told the UCA that two hundred and six (“two ‘ought’ six”) students

 had been sent to the school. After hearing Sama’s claim of two hundred and six

 students, the agent insisted that he was not asking how many students Sama had sent

 to the school. Instead, the agent requested Sama tell him how many of the recruited

 students had been enrolled. Sama asked for a few moments to give an accurate

 accounting of the enrolled students and came back to say that one hundred ninety

 six students had been enrolled. Sama then asked for the agent to give him twenty

 five thousand dollars – which represented a partial payment for 50 enrolled students

 ($25,000 ÷ $500 = 50 students).

       The agent then asked Sama what he was going to do with the money he would

 receive at the meeting. Sama said that he was going to have his cousin and friends

 deposit some of his money, which would then be sent to him. Sama also told the

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 agent that Suresh Kandala would be coming along with him to the meeting, and that

 he and Suresh would physically carry some of the money back on the plane.

       On January 22, 2018, Sama arrived at a scheduled meeting at the University

 to accept payment for recruited students and discuss future recruitment plans. In

 addition to bringing his associate Suresh Kandala to this meeting, he also brought

 along his ledger. Sama referred to his ledger a number of times during the meeting.

 This ledger (Attachment D) listed the number of students enrolled, students who

 may enroll in the future, and which of his associates had helped him in his

 recruitment efforts. (Dkt. # 80 PgID 266-269). Sama identified which of his

 associates recruited a particular student by listing students on a page under his

 associate’s name or logging their assistance by placing a mark or initials next to the

 student’s name (i.e. placing the initials “ph” for Phanideep Karnati, “P” for Prem

 Rampeesa etc.). (Id.)

       Below, Sama and Kandala can be seen counting twenty thousand dollars

 (rather than the twenty five thousand dollars requested by Sama) that they received

 in exchange for the enrolled students from an HSI agent (whose image is obscured):




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       After counting out the money, Kandala placed the money it in his coat pocket

 while Sama reviewed his ledger of recruited students:




       As of January 22, 2018, as a result of Sama keeping sixty two thousand dollars

 in cash from the students (in the form of tuition payments) and being paid twenty

 thousand dollars in cash by the UCA, Sama acknowledged his role in enrolling at

 least one hundred sixty four students ($82,000 ÷ $500 = 164 students).




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                                 SAMA’S SECOND PAYMENT

       On June 8, 2018, Sama again travelled to the University to meet with the UCA

 to be paid. Sama initially met alone with the agent. Sama and the UCA were

 eventually joined by co-defendant Phanideep Karnati.

       Before Karnati arrived, Sama had discussions with the UCA regarding how

 much he paid some of his associates (Prem Rampeesa, Suresh Kandala, Phanideep

 Karnati etc.) for recruiting students, and asked that the agent to not tell Prem and

 Phanideep that he was being paid five hundred dollars per student because Sama was

 only paying them three hundred dollars per student. During this conversation, Sama

 acknowledged that he had received approximately one hundred and ten thousand

 dollars in cash from the students (in the form of tuition payments). Again, Sama had

 not sent this money to the University. Rather, he kept the one hundred and ten

 thousand dollars as payment for the recruitment of the enrolled students. This would

 account for two hundred and twenty enrolled students ($110,000 ÷ $500 = 220

 students).

       The UCA then paid Sama twenty thousand dollars in cash. This represented

 a partial payment for the students who had enrolled. This would account for forty

 additional enrolled students ($20,000 ÷ $500 = 40 students). As of March 8, 2018,

 Sama thus far has been paid for at least three hundred students (payment 1/22/18 –

 40 students, plus the payment 6/8/18 – 40 students, and retention of tuition payments

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 for 220 students – (220 students + 80 students = 300 students).

       Karnati eventually joined the meeting. During the meeting, Sama and Karnati

 touched upon various aspects of their joint recruitment activities. Later in the

 meeting the UCA asked about the number of students Karnati recruited. Karnati

 pulled out his computer and opened an Excel spreadsheet, which he referenced

 during the ensuring conversation. As the meeting was winding down, Sama took

 photographs of Karnati’s Excel spreadsheet from Karnati’s computer that he used to

 track his particular students. Sama then emailed the photographs to the UCA.

 Karnati’s spreadsheet listed seventy four names.

                                  SAMA’S THIRD PAYMENT

       On September 25, 2018, rather than Sama traveling to the University to be

 paid, the school wired money to Sama’s bank account. The UCA wire transferred

 nine thousand dollars to Sama. This money represented a partial payment for

 student’s enrolled by Sama. This would account for at least 18 additional enrolled

 students ($9,000 ÷ $500 = 18 students).

                 SAMA’S RESPONSIBLE FOR OVER 300 ENROLLED STUDENTS

       In total, Sama personally recruited and was compensated for well over three

 hundred students. He received profits – through a combination of tuition concessions

 and cash payments - in excess of one hundred and sixty thousand dollars from the

 University. (Id. at ¶¶ 19-27 (Dkt. # 80 PgID 272-273). At various times throughout

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 his recruiting efforts, Sama would email, or allow to be copied, various updated lists

 of the students that had been referred to the school. With each updated list, the

 number of recruited students would increase. (Dkt. # 80 PgID 264-272).


  Date                                          Number of students enrolled

  September 18, 2017                            31 Students (See Attachment A)

  October 26, 2017                              77 Students (See Attachment B)

  November 9, 2017                              93 Students (See Attachment C)

  January 22, 2018                              117 Students (See Attachment D)

  August 29, 2018                               497 Students (See Attachment E



        Sama has pled guilty to conspiring to commit visa fraud (18 U.S.C. § 1546(a))

 and harboring aliens for profit (8 U.S.C. § 1324) in violation of 18 U.S.C. § 371—

 without the benefit of a Rule 11 agreement, although the government did offer one.

 (PSR, ¶¶ 1, 5). Sama’s co-conspirators are the foreign citizen “students” he recruited

 and his subordinate recruiters - co-defendants. (Id. at ¶¶ 19-27).

        The maximum sentence for his offense is not more than five years’

 imprisonment, a maximum fine of $250,000, and an applicable term of supervised

 up to three years. (PSR, p. 2; ¶¶ 61, 64, 69).

  II.   SENTENCING GUIDELINES CALCULATIONS AND § 3553(a)
        FACTORS

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       In determining an appropriate sentence, the Court should use the Sentencing

 Guidelines as a “starting point and the initial benchmark.” United States v. Lalonde,

 509 F.3d 750, 763 (6th Cir. 2007) (quoting Gall v. United States, 552 U.S. 38, 49

 (2007)). Indeed, a sentence within the guidelines range carries a “rebuttable

 presumption of reasonableness.” United States v. Buchanan, 449 F.3d 731, 734 (6th

 Cir. 2006). This is so because the guidelines “represent nearly two decades of

 considered judgment about the range of sentences appropriate for certain offenses.”

 (Id. at 736) (Sutton, J., concurring). In particular, the guidelines aggregate the

 “sentencing experiences of individual judges, the administrative expertise of the

 [Sentencing] Commission, and the input of Congress….” Id.

       Beyond the Guidelines, the Court should consider all of the factors set forth

 in 18 U.S.C. § 3553(a). Gall, 552 U.S. at 49–50. The § 3553(a) factors include:

       (1) the nature and circumstances of the offense and the history and
       characteristics of the defendant;
       (2) the need for the sentence imposed—
              (A) to reflect the seriousness of the offense, to promote respect
              for the law, and to provide just punishment for the offense;
              (B) to afford adequate deterrence to criminal conduct;
              (C) to protect the public from further crimes of the defendant;
              and
              (D) to provide the defendant with needed educational or
              vocational training, medical care, or other correctional
              treatment in the most effective manner; [and]
                                       ***
       (6) the need to avoid unwanted sentence disparities among defendants
       with similar records who have been found guilty of similar conduct….

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 18 U.S.C. § 3553(a).

       A.     Sama’s Sentencing Guidelines

       The government asserts that Sama’s total offense level is 22 and his criminal

 history category is I, which results in a guideline range of 41–51 months.

             SAMA WAS ORGANIZER AND LEADER OF 5 OR MORE MEMBERS

       Sama’s conduct in this case demonstrates why a sentence within the

 guidelines is appropriate. Sama was the greatest driving force behind the enormity

 of the fraud. He recruited three times the amount of students than his next highest

 co-defendant. He made over $150,000 for his efforts. It was Sama who initiated

 contact with the school, negotiated the tuition and referral fees, and pulled together

 his group of friends, associates, roommates and acquaintances (collectively known

 as his co-defendants) to help drive students to the University.

       In addition to actively finding students, Sama also organized and coordinated

 their paperwork: applications, acceptance letters, student identifications cards, false

 transcripts, various 1-20’s for travel, university transfer and work authorization. For

 example, on August 10, 2018, Sama helped one of his students obtain false

 transcripts from the University, prompting an email for an undercover agent about

 the amount of time it would take to create a fake document for his student:

              Santosh,


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              I will tell you what I told your friend… It takes 3-4 weeks to
              process the request for transcripts. Because he was enrolled
              under the “special arrangement” and not technically coming to
              classes, we have to deceitfully make up these documents for
              him. No one will be receiving transcripts until next week. Dr.
              Roberts handles the transcripts and he is out of the office this
              week. There is a long list of students who are requesting
              transcripts too. We will go in order of the request. We are not
              in a hurry to help Mr. Amplala because he failed to pay tuition.

       Sama’s recruiting was so prolific that the University had to try to put a stop to

 his efforts by telling him that too many students had signed up, and that the

 authorities may suspect what they were doing. The undercover agent told Sama that

 the University could not accept any more students for a particular quarter and they

 would have to limit the number of students that could be accepted in the future.

 Undeterred, Sama and his associates continually badgered the undercover agent to

 accept their “cousin,” “special friend,” and the like. For example, in an email dated

 January 15, 2018, Sama wrote:

       “Hi Ali these students are waiting for acceptance letters according to
       our discussion in December you told me that, you will give 65
       acceptance, but totally I had 80students for February from these only
       50-60 students will join, some of them is looking for march , in these
       80 students only 10-15 students having jobs so I had talk with
       remaining students they agreed to use grace period for 15-20 days and
       they want to go for march .
       Till now I got 20 acceptance letters in that I got 2 march intake
       students and one 1 student who already enrolled for January student .
       The below list are for February intake send me those acceptance
       ASAP I will filter them as per our discussion 65 students, I had lot of
       pressure please make me out of this situation.
       Thank u.”
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 Sama then attached a list of 66 additional students that he wanted to be enrolled at

 the school. It is important to note that these names also appeared in Sama’s ledger

 that he brought with him on January 22, 2018. These 66 students were listed under

 “Feb” and were students Sama and his associates intended to enroll into the

 University in February 2018. These named students were in addition to the 117

 Students were already enrolled at the University (See Attachment D).

       On January 19, 2018, in an apparent attempt to circumvent the undercover

 agent’s direction to limit the amount of students, Sama called one of the other

 undercover agents (“the Director of Administration”). Sama tried to convince the

 Director of Administration that Sama had been granted permission to enroll twenty

 more students. Sama then forwarded twenty student applications to the University.

       It is clear that Sama knew exactly what he was doing in running his

 recruitment organization. As a matter of fact, during a September 2017 conversation

 with an undercover agent, Sama boasted that he was not a neophyte to the recruiting–

 for-pay process. He told the undercover that he recruited before and that he had been

 paid $750 per student by Silicon Valley University.

       Moreover, Sama continually exerted his influence over his associates, as the

 leader and organizer of this illegal confederation during the entire breath of the

 conspiracy. On January 29, 2019, the day he and his co-conspirators were arrested,

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 a conference took place at the University’s offices. The conference included Sama,

 several of his associates, and the undercover agents. Not surprisingly, Sama was

 holding court; orchestrating, organizing, and directing his associates up to the

 moments before their arrest. He was instructing each of the defendants who were

 present as to how many students each of them would enroll at the University in order

 to equitably maximize their profits, yet minimize their chances of drawing the

 unwanted attention of U.S. immigration authorities.

       Sama may suggest his role in committing fraud and harboring illegal aliens

 for profit stemmed from his attempt to help foreign national students obtain an

 education—including for some students who sought to transfer from schools that

 were in danger of losing their accreditation.1 But his and his students’ aims were not

 so noble.

       Their true intent could not be clearer. While “enrolled” at the University, one

 hundred percent of the foreign citizen students never spent a single second in a

 classroom. If it were truly about obtaining an education, the University would not



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   These schools cater to “students” who want to exploit our foreign student
 education program. While they are the exception rather than the rule, unfortunately
 they do exist. Some of the “pay to stay” schools located around the United States
 that have been exposed over the years are: Prodee University; Neo-America
 Language School; Walter Jay M.D. Institute; the American College of Forensic
 Studies; Likie Fashion and Technology College; Tri-Valley University; Herguan
 University; the University of Northern Virginia; and the American College of
 Commerce and Technology.
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 have been able to attract anyone, because it had no teachers, classes, or educational

 services. Instead, Sama and the foreign nationals he recruited wanted to commit a

 fraud upon the United States. At the outset, Sama informed his recruits there would

 be no classes and no education. The “students” willingly paid thousands of dollars

 to the undercover agents so that they could obtain fraudulent documents (Form I-

 20’s) that would allow them to illegally stay, re-enter, and work in the United States.

       But Sama’s conduct was much more offensive than that of his recruits. Once

 he knew exactly what the University was—a fraud—he, not the University, raised

 the idea of recruiting other students who would be willing to commit fraud. He did

 so in order to make money. Specifically, in exchange for finding and enlisting others

 to remain in the United States illegally, he received more than $160,000 in profits

 and tuition credits. Hence, his illegal arrangement with the University proved to be

 quite profitable for him.

       Therefore, Sama’s conduct necessitates a guidelines sentence, and there are

 no legitimate reasons to vary below that range. PSR ¶ 75. Nonetheless, under our

 immigration laws, Sama must be sentenced to at least 12 months in custody to

 permanently bar him from re-entering the United States. Such a bar is certainly

 fitting in this case, since Sama intentionally exploited our student visa system for his

 own financial gain. He did so with the full knowledge that most of his recruits wanted

 to illegally enter the United States job market while unlawfully remaining in the

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 United States. As a direct result of his actions, his recruited students—who were

 illegally working in the United States—deprived otherwise qualified individuals

 from obtaining employment or training.

       B.       Sentencing Reform Act factors

                1.   Seriousness of the offense

       Sama’s decision to conspire to harbor aliens and commit visa fraud is a serious

 offense, as indicated by Congress’s decision to authorize up to five years in prison

 for the offense. See 18 U.S.C. § 371; (PSR, ¶ 54). Specifically in this case, the F-1

 student visa program is designed to promote and encourage foreign students to study

 at American institutions. (PSR, ¶¶ 9–15). Once they finish their course of study, the

 students must leave within 15 days. (Id. at ¶ 15). The idea is that the students return

 to their native countries to share their new knowledge and skills for the betterment

 of themselves and their country. Accordingly, the F-1 student visa program is not a

 naturalization program—i.e., it is not intended to be a path to obtaining U.S.

 citizenship.

       If he receives a guidelines sentence, Sama will be deported once he serves his

 sentence, and he will be permanently barred from returning to the United States in

 the future. And even without a permanent bar from a guidelines sentence, Sama will

 likely be deported, and there is no way to know whether he will return to the United

 States. Yet his likely deportation should not trigger a variance windfall.

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        The Sixth Circuit has been clear that 18 U.S.C. § 3553 requires that the

 defendant’s sentence reflect the seriousness of the offense, promote respect for the

 law, and provide just punishment. United States v. Musgrave, 761 F.3d 602, 608 (6th

 Cir. 2014). Deportation is not part of the defendant’s sentence. Many things that

 happen to a defendant following his conviction and sentence are “impermissible

 facts” in determining a sentence. Id. Things such as losing a professional license,

 paying legal fees, suffering embarrassment or a damaged reputation, or as is the case

 here, being deported, are not part of this Court’s sentence. “None of these things

 are [the defendant’s] sentence. Nor are they consequences of his sentence,” and a

 district court should therefore sentence the defendant “without considering these

 factors.” Id.

        Furthermore, Sama and his co-conspirators (his recruited students) ignored

 the purpose of the F-1 student visa program. In fact, Sama has remained in the United

 States since 2015, totaling over four years in the United States before he was arrested

 on January 31, 2019. (Id. at ¶ 1). Moreover, during his time with the University,

 Sama was responsible for recruiting and securing work authorization for

 approximately 600 other illegal aliens. As a result of Sama’s actions these 600 illegal

 students took those jobs which could have gone to U.S. citizens or to other foreign

 students who were lawfully in the United States on valid visas.



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               2.    Deterrence, protection of the public, and nature and
                     circumstances of the offense

         As noted above, Sama will likely be deported, and thus the likelihood of him

 reengaging this same criminal conduct is highly unlikely. However, the Court’s

 contemplation of §3553 factors regarding deterrence and protection of the public is

 not limited to whether the defendant is likely to be a recidivist. Rather, this Court is

 likewise required, in determining an appropriate sentence, to seek to deter others

 from committing such crimes and protect the public. This Court should do so in this

 instance. According to an SEVP summary issued by U.S. Immigration and Customs

 Enforcement in November 2016, 1.23 million foreign students were studying in the

 United States on student visas in 2016, and 8697 schools were certified to enroll

 international students.2 A guideline sentence for Sama would invariably serve as a

 warning and act as deterrence to any of the other one million other foreign students

 that are currently studying on student visas in the United States who may

 contemplate engaging in similar conduct.

         Additionally, this action and the related actions—19-cr-20024 and 19-cr-

 20025—have garnered considerable media attention since the indictments were

 unsealed. Presumably, the sentences in this case and the related cases will also

 receive media focus. As a result, strong sentences against Sama and the other



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     https://www.ice.gov/doclib/sevis/pdf/byTheNumbersDec2016.pdf (p.2).
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 defendants would have a considerable chance of deterring other foreign students—

 and some schools—from abusing the F-1 student visa program. In addition, as

 indicated by the success Sama and the other defendants had in recruiting students to

 the University, their vast network of students and potential students, at the very least,

 could be deterred by guidelines sentences.

       In light of the above, a deterrent prison sentence between 41 and 51 months

 is appropriate.

              3.     Characteristics of the defendant

       Sama indicated he has a loving and supportive family and friends, both in

 India and in the United States. (PSR, ¶ 49). He attended a university in India and

 obtained a degree in engineering, and he also earned a Master’s degree from Silicon

 Valley University. Thus, he has received support, love, and opportunities that many

 defendants who appear before this Court have not, and yet he still chose to commit

 and become the most prolific offender involved in the instant offense.

         As a result, Sama’s personal characteristics counsel that a prison sentence

 of 41 - 51 months is appropriate.

              4.     Need to avoid sentencing disparities

       The Supreme Court reiterated in Booker that reducing sentencing disparities

 was Congress’s basis statutory goal in passing the Federal Sentencing Guidelines.

 United States v. Booker, 543 U.S. 220, 250, 264 (2005). Thus, calculating and

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 analyzing the guidelines is the primary driver in avoiding unwanted sentencing

 disparities. Id. at 264 (“The district courts, while not bound to apply the Guidelines,

 must consult those Guidelines and take them into account when sentencing.”).

 Indeed, by correctly calculating and considering the Sentencing Guidelines, the

 Court automatically gives “significant weight and consideration to the need to avoid

 unwarranted disparities.” Gall v. United States, 552 U.S. 38, 54 (2007). A variance

 in this matter would result in unwanted sentencing disparities.

       Furthermore, a variance based on deportation would be contrary to the dictates

 of 18 U.S.C. § 3553 (2)(A) which requires that the defendant’s sentence reflect the

 seriousness of the offense (see above). By allowing the Court to consider deportation

 as grounds for a downward variance for illegally harboring aliens, it would

 invariably grant the Court the authority to vary for an alien yet bar similar such

 consideration for an equally culpable defendant, who happens to be a U.S. citizen,

 and not subject to deportation. In essence, it would reward an alien while punishing

 a United States citizen for committing the exact same offense. This is universally

 unfair and would likewise run afoul of 18 U.S.C. Section 3553(a)(6) which mandates

 that the Court’s sentence should “… avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct.”

       Therefore, this factor favors a prison sentence within the guidelines range of

 41-51 months. However, the Court should also be mindful of the five other recruiters

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 charged in this case, along with the two recruiters charged in related cases, 19-cr-

 20024 and 19-cr-20025. Naveen Prathipati and Aswanth Nune, who each recruited

 less than twenty students, received a sentence of 12 months and a day, and Bharath

 Kakireddy, who was a co-conspirator with Sama, received a sentence of 18 months.

 Individually, Prathipati, Nune, and Kakireddy were not even close to being as

 prolific as Sama.

                                     CONCLUSION

       For the reasons stated above, the government recommends this Court

 sentence Sama within the existing guideline range of 41–51 months.

                                           Respectfully submitted,

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 Dated: September 5, 2019



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                           CERTIFICATE OF SERVICE

       I hereby certify that on September 5, 2019, I electronically filed the

 foregoing paper with the Clerk of the Court using the ECF system, which will

 provide notification to all counsel of record.




                                                  /s/Ronald W. Waterstreet
                                                  Ronald W. Waterstreet
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